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UNITED STATES DISTRICT C()URT
S()UTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
ALLIANTGROUP, LP § CIVIL ACTION NO.
§
Plaintiff, §
v. §
§
WILLIAM V()LKER and
EFFICIENCY ENERGY, L.L.C
Defendants.

DEFENDANTS’ NOTICE OF REMOVAL

Defendants Efficiency Energy, L.L.C. ("EE"), and William Volker (“Volker”), each by
and through its undersigned counsel, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, remove this
action from the 127th District Court for the State of Texas, County of Harris_to the United States
District Court for the Southern District of TeXas, Houston Division and, to the extent required,
reserve any and all rights, obj ections, defenses and exceptions they may be entitled.
1. Alliantgroup, LP (“Alliant”) began this civil action by filing a petition entitled
“Alliantgroup, LP versus William Volker and Efjflcz`ency Energy., L.L.C. ” in the 127th District
Court for the State of TeXas, County of Harris, bearing Cause No. 2014-54532. Alliant filed said
petition on September 22, 2014. A copy of the petition and a copy of all other documents
required by 28 U.S.C. § l446(a) and Local Rule 81 are attached
2. This Notice of Removal is filed Within 30 days of the notice of the petition and is timely
filed under 28 U.S.C. § l446(b).
3. All defendants have consented to removal under this Notice of Removal filed by

Defendants.

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4. The United States District Court for the Southern District of Texas, Houston Division is
the proper Court for removal of Alliant’s petition pursuant to 28 U.S.C. § 1441 as this Court
embraces and encompasses the 127th District Court for the State of Texas, County of Harris.

5. Pursuant to 28 U.S.C.A. § 1446(d), Defendants will give written notification of the filing
of this Notice of Removal to all parties.

6. Pursuant to 28 U.S.C.A. § 1446(d), a copy of this Notice of Removal will be filed with
the clerk for the 127th District Court for the State of Texas, County of Harris.

7. The district courts of the United States have original jurisdiction over this action based on
diversity of citizenship among the parties, in that every defendant is now and was at the time the
action was commenced diverse in citizenship from every plaintiff No defendant is or was at the
time the suit was commenced a citizen of the State of Texas.

8. Alliant, the Plaintiff, is a domestic limited partnership registered in the State of Texas, the
citizenship of which is determined by the citizenship of its partners Upon information and belief
after reasonable inquiry, no partner of Alliant is a citizen of the States of Colorado, North
Carolina or Florida.

9. Defendant Volker is an individual domiciled in the State of North Carolina and was
domiciled there at the time this action commenced Voll<er was at that time and is now a citizen
of the State of North Carolina.

10. Defendant EE is a limited liability company organized under the laws of the State of
Colorado, the citizenship of which is determined by the citizenship of its members The
membership of EE only includes individuals that were and are now citizens of the States of
North Carolina, Colorado and Florida. No member of EE is a citizen of the State of TeXas or any

other state in which a partner of Alliant is a citizen.

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11. The amount in controversy in this action exceeds, exclusive of interest and cost, the sum
of $75,000. Should Plaintiff prevail on the claim against Defendants stated in Plaintiff s petition,
attached to this notice, Plaintiff would be entitled to damages in excess of $75,000.
12. Removal of this action is proper under 28 U.S.C. § 1441, since it is a civil action brought
in a state court, and the federal district courts have original jurisdiction over the subject matter
under 28 U.S.C. § 1332 because the plaintiff and defendants are completely diverse in
citizenship and the amount in controversy exceeds $75,000.

WHEREFORE, Efficiency Energy, L.L.C., and William Volker, all the defendants in this
action, join together and in conformance with the requirements set forth in 28 U.S.C. § 1446,

remove this action on this 16th day of October, 2014.

Respectfully submitted,

By: /s/ Michael McCue
MICHAEL E. MCCUE
State Bar No. 13494150
ALEX J. PILAWSKI
State Bar No. 24074899

MEADOWS, C()LLIER, REED, COUSINS,
CROUCH & UNGERMAN, L.L.P.

901 Main Street, Suite 3700

Dallas, Texas 75202-3792

(214) 744-3700

(214) 747-3732 (Fax)
mmccue@meadowscollier.com
apilawski@meadowscollier.com

ATTORNEYS FOR DEFENDANTS

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CERTIFICATE OF SERVICE
l certify that a copy of the foregoing pleading has been served upon all counsel of record
to this proceeding by ECF, facsimile, or mailing the same by first class United States mail,

postage prepaid on this 16th day of October, 2014.

/s/ Michael McCue

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